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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
UNITED STATES OF AMERICA, Case No. 18-cr-60352-KMM/LSS

Plaintiff,
V.

TAYYAB TAHIR ISMAIL,

Defendant.
/

NOTICE OF FILING ADDITIONAL LETTER
IN SUPPORT OF SENTENCING PROCEEDINGS

The Defendant, TAYYAB TAHIR ISMAIL, pursuant to the Federal Rules of
Criminal Procedure, files this additional letter in support of sentencing. In furtherance
thereof, the Defendant respectfully submits the letter from the following individual:

1. Khalid Masood Chodhry.

WHEREFORE, the Defendant respectfully seeks to supplement his sentencing

submission with the attached.

Respectfully submitted,

“Lo

 

 

David A. Nufiez Neil M. Sdhuster

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CERTIFICATE OF CM/ECF SERVICE
| HEREBY CERTIFY that on July 17, 2019, | presented the foregoing to the Clerk
of the Court for filing and uploading to the CM/ECF system which will send a notice of
electronic filing to the following: Karen E. Gilbert, AUSA, Office of the U.S. Attorney, 99

N.E. 4" Street, Miami, Florida 33132.

By:

 

David A. Nufez
